Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 1 of 9

IN THE UNITED STATES FOR THE DISTRICT OF COLUMBIA
District Court, Civil Division

ANA LUCIA MARTINEZ *
*

: *

Plaintiff /Counter-Defendant * Case No.: 1:16-cv-496 (RDM)

*

Vv. -
CHINA BOY, INC. =
*

Defendant/Counter-Plaintiff *

Hee Te KKK KR RRR RRR RRR KERR KKK KEKKEKKKKEKKKKE

DEFENDANT’S ANSWER AND COUNTERCLAIM

Comes now the Defendant, by and through Counsel, and answers Complaint as follows:
I. ANSWER

Defendant enters general denial from Paragraphs 1-33 and demand strict proof.

. Except #3 from the complaint, Defendant admits that China Boy, Inc. is incorporated in

D.C.. However, the current address of the business is 815 6th Street, N.W., Washington,
D.C., 20001. They have been relocated to 815 6th Street, N.W., for years.
Il. DEFENSES & AFFIRMATIVE DEFENSES

In response to Plaintiff's Complaint, Defendant asserts the following defenses:

. Inthe Para #11, The plaintiff fraudulently changed her alleged working hours at China

Boy from June 2014 through about September 2015.

Plaintiffs complaint fails to state a cause of action upon which relief can be granted.

. Plaintiff's complaint should be dismissed because of Plaintiff left and never returned to

China Boy at least two times, once in the end of 2013 to end of January 2014. Another

time she left and never returned in May until August 2014.
10.

ii,

12.

13.

Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 2 of 9

Plaintiff's complaint should be dismissed because she was not providing any
identification even if Defendant has demanded later on.

Plaintiff's complaint should be dismissed because she refused to take checks and insisting
on cash payments.

In between October 1, 2013 to March 2015, Plaintiff chose to be absent without leave for
at least two times. There was no call, e-mail or texting from Plaintiff to any of the
managers of Defendant at the time.

Plaintiff's complaint should be dismissed because Plaintiff had at least two jobs
back-to-back in between October 2013- March 2015. Plaintiff could not substantiate that
she “worked” overtime in China Boy at all.

Upon information and belief, Plaintiff worked for another restaurant right around the
corner from China Boy. By reasonable calculation, there is no chance for Ms. Gonzalez
to “work” any overtime at all because Plaintiff had to go to another job right after China
Boy, Inc.

Plaintiff's complaint should be dismissed because she is not an employee as defined by
the Worker’s Compensation Act of the District of Columbia.

Plaintiff's complaint should be dismissed because Defendants were not Plaintiff's
employer as defined by the DC Minimum Wage Act of the District of Columbia.
(overtime).

Plaintiff's complaint should be dismissed because she is not an employee as defined by

the Federal Fair Labor Standards Act (Overtime).
Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 3 of 9

14. Plaintiff's complaint should be dismissed because Defendant is not an employer as

defined by the DC Minimum Wage Act of the District of Columbia. (Minimum Wage).

15. Plaintiff's Complaint should be dismissed because the Court lacks jurisdiction over one

of parties to this suit.

For the reasons stated above, based upon the foregoing, Defendants pray that Plaintiff's

Complaint should be dismissed.

i,

1.

COUNTERCLAIM
Facts
China Boy is an incorporated corporation in Washington, D.C. for years.
The physical address of China Boy is 815 6th Street, N.W., Washington, D.C. , 20001.
It is a very small Chinese operation, mainly selling rice crepe (a specialty ingredient for
Chinese food, and some Thai food) to different restaurants as a wholesaler around the
Chinatown area. They had limited amount of supply and orders over the years.
China Boy is not a qualified “enterprise” according to within the meaning of 3(r) of the
FLSA 29 U.S.C. 203 (1).
On about October 1, 2013, a Latina woman approached then manager, Mr. Wu. She was
retained by the-then manager to assist the operation in the back. Unfortunately, the
manager, Mr. Wu, deceased in January 2015.
Upon information and belief, Ms. Anna Lucia Gonzalez insisted that she would not like
to receive any check, but cash only as her payment. China Boy has never short of her

payments.
10.

11.

IZ.

43,

14.

45.

16.

17.

Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 4 of 9

Upon information and belief, Ms. Gonzalez did not provide any personal information or
identification and refused to provide such information to the then manager at all. Even if
the management asked her on numerous occasions afterwards.

Upon information and belief, Ms. Gonzalez also worked in another restaurant around
China Boy on the H Street, N.W..

Upon information and belief, Ms. Gonzalez worked both jobs back to back almost all the
time.

Upon information and belief, Ms. Gonzalez did not come to China Boy on the daily basis.
Ms. Gonzalez stopped coming to China Boy (AWOL) from time to time.

For example, Ms. Gonzalez disappeared in the December 2013 to the end of January
2014 the first time.

Ms. Gonzalez did not call in or ask leave for her absence for December 2013 to January
2014.

Ms. Gonzalez re-appeared in the end of January 2014, merely performed her duty for
about three days during that month.

Upon information and belief, Ms. Gonzalez has never performed her duty more than 40
hours per week.

Ms. Gonzalez could not performed any work more than 40-hour per week because she
had to rush to another job after China Boy.

Upon information and belief, Ms. Gonzalez initiated this case because her sister received

some payments because of over-time claim and other restaurants owners.
Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 5 of 9

18. Upon information and belief, Ms. Gonzalez merely showed up about 8 days in March and
8 days in February, 2015.

19. Upon information and belief, Ms. Gonzalez came in China Boy anytime she showed up
and went out to go to another restaurant to work for her second job.

20. Upon information and belief, Ms. Gonzalez expected to be compensated with cash
because her sister was compensated by suing her work places. Ms. Gonzalez saw her
sister reap the fruits of litigation of similar cases.

21. In October 2017, Alice Dan, the current manager, received some documents from Ms.
Gonzalez’ attorney.

22. Without any delay, Alice has approached Ms. Chou to untangle the current case and
wrote motions to vacate the default judgement.

23. Before Ms. Dan was served with the Court paper, there was a scheduled “business
settlement” between her, Mr. Li and two other partners.

24. Due to this litigation, the October 2017 settlement has to be postponed to avoid any
complication to the other partners.

25. Due to this litigation, the Martinez vs. China Boy was published all over the internet.

26. The competitor of China Boys, Inc. already knew about this litigation and inquired about
that with Ms. Dan recently.

II. CAUSES OF ACTION
A. Fraudulent misrepresentation
Counter-Plaintiff incorporates all the paragraphs above and states additional statement as

following:
1.

Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 6 of 9

Counter-Defendant made a false representation of a material fact; namely, in this case,
Ms. Gonzalez stated that she worked from May 2014 to September 2015. She also

made a false representation about how many hours did she work in China Boy, Inc.

Those false information are the core of this case.

When counter-defendant filed her complaint, she also submitted her affidavit. In her
affidavit, she knowingly stated that she worked up to 66-hour per week at China Boy,

Inc. Her attorney even did a spreadsheet to demonstrate how much money that China
Boys, Inc. “allegedly owed” Ms. Gonzalez. Gonzalez failed to state and inform that court
that she also worked at other restaurant(s) right around the corner of China Boy, Inc.

immediately afterwards.

. As far as Ms. Dan remembers, Ms. Gonzalez even worked in McDonald for a short while

in about 2014. She left early that day to pick up a check for herself.

When counter-defendant made the representation, she acted with intent to deceive the
China Boy, Inc. Ms. Gonzalez wants to have a windfall like her sister. In this case, she
alleged that she worked for China Boy from 2014 to September 2015. Ms. Gonzalez
stated that she worked long hours in China Boy without overtime compensation from
China Boy, but she could not remember the address of China Boy. She asserted that she
worked overtime, but she did not tell the court that she also worked at other restaurant(s)
right after China Boy, Inc. Meanwhile, China Boy, inc. manager observed Ms. Gonzalez

changed her work wardrobe for the next job all the time.
Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 7 of 9

5. Ms. Gonzalez’ own greed spelled over to create hardship to China Boy. China Boy’s
partners had to endure anguishment from competitor when they asked about the
litigation.

6. China Boy, Inc. had to retain an attorney to represent them, even if they had no idea why
and how they got sued.

7. Ms. Gonzalez knowingly and maliciously prosecuted China Boy, Inc. for her own
benefits, without any justification.

For the reason stated above, Counter-Plaintiff demands Counter-Defendant to pay
$100,000.00 for the false misrepresentation and attorney fees.

B. Defamation

Counter-Plaintiff incorporates all the paragraphs above and states additional statement as
following:

7. Counter-Plaintiff alleged that Defendant defamed their reputation. To be specific, in
this case,

(i) the counter-Defendant published a false statement about counter-plaintiff, namely,
China Boy did not pay her overtime wages as Ms. Gonzalez alleged; Ms. Gonzalez failed to state
that she had two jobs at the same time around the same area;

(ii) that the statement was defamatory; in this case, counter-plaintiff believed that they
have treated their employees well over the years and retained them over the years. Ms. Gonzalez
was the only person who alleged that she was an employee but refused to provide her proper i.d.;

she took time off without prior consultation with management; she did not notify China Boy of
Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 8 of 9

her whereabouts at all. She acted as an pure independent contractor. She insisted that she take
cash payments only;

(iii) Ms. Gonzalez negligently publishing the statement; in this case, her attorney wrote a
complaint without even verify the correct address; never mentioned about the wrong period of
time of the “alleged work period” or “AWOL.” all the time.

(iv) China Boy has suffered actual injury as a result; in this case, due to the language
barrier and insufficient service, China Boy has never properly served. Meanwhile, China Boy is
on the internet to be defamed as an employer who refused to pay overtime.

For the reasons stated above, Counter-Defendant demands monetary damages

of$50,000.00, including compensatory damages and attorney fees.

We hereby affirm that we have read the above statement and confirm it is true to the best
of our knowledge, through the assistance of our attorney.

Le tS Hh He IES

Alice Dan Date Yik C. Li Date

CERTIFICATE OF SERVICE

I the undersigned do hereby certify that a copy of the foregoing Answer and
Counterclaim was served electronically to Gregg C. Greenberg, Esq., Zipin, Amster &
Greenberg, LLC, 8757 Georgia Avenue, Suite 400, Silver Spring, Md., 20910

BAW,

B. Marian Chou, Esq. “Date

 
 

Case 1:16-cv-00496-RDM Document 21 Filed 01/04/18 Page 9 of 9

Disease Record (File)

 

Employee Name Afia Jucia 4M

DATE__bo—|— YS

 

Symptoms/ Disease _

Past Jhiston Close People

+
¢
;

 

 

 

 

 

 

 

 

 

Present ee
Diarrhea Y7NJ| YEN | YIN
Hepatitus YIN) | YEN | YI(N,
Salmonella yiN) | yin | YIN
Dysentery Yi\N) | Y!N | Y/CND
Fever Yi) | YEN | YIN
Vomiting Y /{ LN) Yin | YIN

 

|. \f [nave the above symptom, | will report it to the manager.
2. | certify that my statement is true.

a
A ;
bo —|
ae LL 2 "2 Date

Signature

 

Signature

 

Signature

 

 

Signature

Date

Date

Date

Date

 

Note

Cured
Cured
Cured
Cured

Cured
Cured

¢ Hired }
N _Work 5

Excluded
Cured

MD

 

Lab

 

Self medication
back to work
